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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 IN RE: PHILIPS RECALLED CPAP,                  )
 BI-LEVEL PAP, AND MECHANICAL                   )      Master Docket: Misc. No. 21-1230
 VENTILATOR PRODUCTS                            )
 LITIGATION,                                    )      MDL No. 3014
                                                )
 This Document Relates to: All Actions          )

     [PROPOSED] PRESERVATION ORDER APPLICABLE TO OTHER RECALLED
                               DEVICES

       Defendants Philips RS North America LLC f/k/a Respironics, Inc. (“Philips RS”);

Koninklijke Philips N.V.; Philips North America LLC; Philips Holding USA, Inc.; and Philips RS

North America Holding Corporation (collectively, “Defendants”) and Plaintiffs, by and through

Co-Lead Counsel (collectively, the “Parties”), jointly submit this [Proposed] Preservation Order

Applicable to Other Recalled Devices for approval and entry by the Court.

I.     DEFINITIONS

       1.       DMEs: Durable medical equipment distributors.

       2.       Identifying Information: Includes the following information for Other Recalled

Devices: (i) the individual’s name, address, and date of birth; and (ii) the serial number of the

Other Recalled Device.

       3.       Other Recalled Devices: Other recalled Devices includes the following CPAP

machines, BiPAP machines, and/or mechanical ventilator devices that are subject to the Recall:

            •   E30;

            •   System One ASV4;

            •   C Series S/T AVAPS (also known as System One BiPAP AVAPS (C-Series),

                System One BiPAP S/T (C-Series);

            •   OmniLab Advanced Plus;


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            •   System One 50 series;

            •   System One 60 series;

            •   DreamStation GO CPAP, APAP, Auto CPAP;

            •   Dorma 400, 500 CPAP, Auto CPAP;

            •   Garbin Plus, Aeris, LifeVent Ventilator;

            •   A-Series BiPAP Hybrid A30 (also known as BiPAP Hybrid A30Ventilator (A-

                Series));

            •   A-Series BiPAP V30 Auto Ventilator (also known as BiPAP V30 Auto Ventilator

                (A-Series));

            •   A-Series BiPAP A40 (also known as BiPAP A40 Ventilator (A-Series));

            •   A-Series BiPAP A30 (also known as BiPAP A30 Ventilator (A-Series)).

•      For avoidance of doubt, Other Recalled Devices does not include DreamStation 1 Devices

as defined by and subject to the Amended Preservation Order Applicable to DreamStation 1

Devices entered on September 23, 2022 (Doc. 773) and Trilogy Devices as defined by and subject

to the Second Amended Interim Preservation Order Applicable to Trilogy Devices entered on June

15,   2023      (Doc.       2049).   A   list   all       Recalled   Devices   can   be   found    at

https://www.usa.philips.com/healthcare/e/sleep/communications/src-update/information-for-

patients-and-caregivers#affected_devices.

       4.       Recalled Device Claimants: All Plaintiffs, Represented Prospective Plaintiffs, and

Other Prospective Plaintiffs, as defined below:

                a.      Plaintiffs: Persons who, in actions that are part of this MDL as of the date

       of this Order, are either (i) Plaintiffs in actions seeking individualized relief on behalf of




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       themselves only, or injunctive relief (including through mass actions), and/or (ii) named

       class representatives in proposed class actions.

                  b.        Represented Prospective Plaintiffs: Owners or users of Other Recalled

       Devices who have retained counsel in anticipation of asserting claims against one or more

       of the Defendants based upon their purchase and/or use of an Other Recalled Device and

       who are not currently Plaintiffs in actions that are part of this MDL as of the date of this

       Order, but who have notice of the entry of this Order through their counsel’s appearance

       in the MDL.

                  c.        Other Prospective Plaintiffs: Non-Plaintiff owners or users of Other

       Recalled Devices who have not retained counsel as of the date of this Order, or who have

       retained counsel that do not have notice of the entry of this Order through appearance in

       the MDL, but who may in the future assert claims based upon their purchase and/or use of

       an Other Recalled Device, whether through counsel or pro se, whether their damages

       and/or injuries are currently known or unknown

       5.         Recall: Philips RS’s recall, announced on June 14, 2021, of certain prescription

medical devices, including CPAP, BiPAP, and mechanical ventilator devices, due to potential

health risks related to a PE-PUR sound abatement foam used in the devices. See Recall Notice,

available   at:        https://www.usa.philips.com/a-w/about/news/archive/standard/news/press/2021/

20210614-philips-issues-recall-notification-to-mitigate-potential-health-risks-related-to-the-

sound-abatement-foam-component-in-certain-sleep-and-respiratory-care-devices.html.

       6.         Recalled Devices: All devices subject to the Recall.

       7.         Settlement: The Parties’ Amended Class Settlement Agreement and Release of

Economic Loss Claims (ECF 2279-1), which the Court preliminarily approved on October 10,




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2023 (ECF 2289), and information on which is available at the Settlement Website available at

https://www.respironicscpap-elsettlement.com/.

         8.     This Order defines the Parties’ respective obligations with respect to the

preservation of Other Recalled Devices as of the date this Order is entered. 1

II.      PRESERVATION PROTOCOL FOR OTHER RECALLED DEVICES

         A.     Philips RS’s Preservation of Certain Other Recalled Devices

                1.     Preservation Registry

         9.     To have their Other Recalled Device(s) preserved by Philips RS under this Order,

Recalled Device Claimants, individually or through counsel, shall submit Identifying Information

to Philips RS within 60 days of the entry of this Order, or within 60 days of becoming a

Represented Prospective Plaintiff, in the format attached as Exhibit A as an Excel document 2 and

sent by email to MDL3014PreservationRegistry@morganlewis.com or by using a web entry form

available at www.MDL3014PreservationRegistry.com. A Plaintiff or Represented Prospective

Plaintiff who has already submitted Identifying Information to the Preservation Registry for their

Other Recalled Device need not register again. Plaintiffs or Represented Prospective Plaintiffs who

have not submitted Identifying Information as of the date this Order is entered, and who elect to

have their Other Recalled Devices preserved by Philips RS under Section II.A.2, shall submit

Identifying Information within 60 days of the entry of this Order, or within 60 days of becoming

a Represented Prospective Plaintiff.

         10.    Philips RS shall maintain a list of known Recalled Device Claimants (the

“Preservation Registry”), which Preservation Registry shall include all individuals for whom

1
  The Parties agree that they will not use the existence of this Order to argue that the preservation
steps set forth therein or in their accompanying Exhibits were required to be taken or implemented
prior to entry of the respective Order.
2
    The Excel form can be downloaded at https://www.mdl3014preservationregistry.com/


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Identifying Information has been provided to Philips RS pursuant to the prior paragraph. Philips

RS will update the Preservation Registry as soon as practicable when it receives Identifying

Information from Recalled Device Claimants, but no less than weekly. All Recalled Devices

returned to Philips RS shall be checked against the Preservation Registry.

        11.     Recalled Device Claimants on the Preservation Registry who elect to have Philips

RS preserve their Other Recalled Device and need to return their Other Recalled Device to Philip

RS may initiate return of their Other Recalled Device to Philips RS using the process described in

the Settlement for receipt of a pre-paid return label. 3

                2.      Preservation of Other Recalled Devices of Persons on the Preservation
                        Registry

        12.     Pending negotiation by the Parties and entry of an examination protocol and Order

specific to each Other Recalled Device, Philips RS shall preserve the Other Recalled Devices of

all Recalled Device Claimants on the Preservation Registry who return or have returned their Other

Recalled Devices to Philips RS. The preservation obligation of Philips RS set forth herein does

not apply where the Identifying Information on the Preservation Registry does not include all of

the following: name, address, and either the serial number of the Other Recalled Device or, only

if the serial number is not available to the Recalled Device Claimant, then the registration

confirmation code provided to the Recalled Device Claimant by Philips RS via e-mail at the time

the Recalled Device Claimant registered his or her Other Recalled Device on Philips RS’s recall

website; provided, however, that Philips RS will undertake reasonable and good faith efforts to

preserve Other Recalled Devices of all Recalled Device Claimants on the Preservation Registry

who return or have returned their Other Recalled Devices but have not provided either the serial



3
  An interactive tool setting forth the Settlement process to obtain a pre-paid label is available on
the Settlement Website—https://www.respironicscpap-elsettlement.com/.


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number of the Other Recalled Device in their Identifying Information or the registration

confirmation code, but only if the Recalled Device Claimant has provided his or her name, address

and date of birth. If Philips RS receives Identifying Information and has any questions about the

Identifying Information provided, it shall direct those questions to the counsel who provided the

Identifying Information, or to the claimant if pro se.

       13.     When Philips RS identifies an Other Recalled Device received, directly or

indirectly, from a Recalled Device Claimant listed on the Preservation Registry, Philips RS will

package, label, and store the device according to the Packaging and Storage Protocol attached

hereto as Exhibit B. To the extent that the model of Other Recalled Device can be used with a

humidifier and/or an SD Card, and if the Recalled Device Claimant returns an SD card or

humidifier along with the Other Recalled Device, Philips RS will also preserve the SD card and

humidifier according to the Packaging and Storage Protocol as Exhibit B. If returned to Philips

RS by a Recalled Device Claimant, Philips RS is not required to preserve and may discard any

other accessories that are returned, such as masks or tubing.

               3.      Other Recalled Devices from Persons Other than those on the
                       Preservation Registry

       14.     To ensure that a sufficient quantity of devices is available for inspection, testing,

and analysis, Philips RS will preserve an additional quantity of the Other Recalled Devices (as

well as any SD cards or humidifiers returned with those devices), at least on an interim basis,

which are not Other Recalled Devices subject to the requirements of Section II.A.2. The Other

Recalled Devices which will be preserved pursuant to this Section, the amount of such Other

Recalled Devices Philips RS will preserve, and the manner of selection are identified Exhibit C,

and such Other Recalled Devices will be packaged, labeled, and stored according to the Packaging




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and Storage Protocol attached hereto as Exhibit B. Philips RS need not preserve other components

or accessories, such as masks or tubing, that are returned with the Other Recalled Device.

       15.     Philips RS will identify by random selection and set aside 200 of each type of Other

Recalled Devices received after the date of this Order and that are not subject to preservation under

Section II.A.2 for those on the Preservation Registry. The Other Recalled Devices identified under

this Paragraph shall be divided equally between Philips RS and Plaintiffs’ lead counsel and the

Other Recalled Devices distributed pursuant to this paragraph do not need to be preserved and may

be examined, tested, and analyzed (including destructive testing, if necessary) by the Parties and their

experts.

               4.      Preservation of New, Unused Other Recalled Devices

       16.     Philips RS shall preserve and provide upon request to Plaintiffs’ Co-Lead counsel

new, unused Other Recalled Devices, which may be examined, tested, and analyzed (including

destructive testing, if necessary) by Plaintiffs’ counsel or their experts. The foregoing sentence is

subject to availability for each model of Other Recalled Device, given that some models of Other

Recalled Devices are no longer manufactured. The quantity of each type of Other Recalled Device

to be preserved under this paragraph will be subject to negotiation among counsel for the Parties.

Philips RS may also retain the same quantity as provided to Plaintiffs of new, unused Other

Recalled Devices for examination, testing, and analysis (including destructive testing, if

necessary). The new, unused devices will be maintained securely and segregated from any other

stored Other Recalled Devices until requested by Plaintiffs’ Co-Lead counsel.

III.   USER-PRESERVED DEVICES

       17.     All Parties acknowledge and agree that for medical reasons, any person may choose

to continue to use their Other Recalled Device prior to its replacement, in which case, Section III

of this Order shall not apply to them until they stop using their Other Recalled Device.


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       18.      Any Plaintiff or Represented Prospective Plaintiff may choose to retain his or her

Other Recalled Device or have their counsel or a third party retain his or her Other Recalled

Device. The Plaintiff or Represented Prospective Plaintiff must still submit Identifying

Information for inclusion on the Preservation Registry in order for Philips RS to track what Other

Recalled Devices are not being returned under the Recall.

       19.      User-Preserved Devices shall be preserved according to Section II of the Packaging

and Storage Protocol attached hereto as Exhibit B pending negotiation by the Parties and entry of

an examination protocol and Order. Plaintiff or Represented Prospective Plaintiffs will also be

instructed by their counsel to preserve the SD card and any humidifier from their Other Recalled

Device, but that they do not need to preserve any other components or accessories, such as masks

or tubing, with the Other Recalled Device, although they may choose to do so.

       20.      If a Plaintiff or Represented Prospective Plaintiff who chooses to User-Preserve

their Other Recalled Device personally or through their counsel, instead of returning their Other

Recalled Device to Philips RS, does not comply substantially and in good faith with their

preservation obligations under this Order and Exhibit B, that Recalled Device Claimant may not

rely upon the Stipulations in Paragraph 22 and Paragraph 24(a). In such a case, the Plaintiff or

Represented Prospective Plaintiff shall not be deemed to have failed to adequately preserve their

User-Preserved Device, but Defendants are not precluded from arguing that the Plaintiff or

Represented Prospective Plaintiff’s manner of preservation was inadequate and was a failure of

preservation.

IV.    STIPULATIONS

       21.      Provided that Philips RS has substantially and in good faith complied with the terms

of this Order, to the extent any Other Recalled Device is unavailable because it was returned to

Philips RS after the date of this Order and was not preserved by Philips RS pursuant to this Order,


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then Defendants shall not be subject to a claim of spoliation or an adverse inference instruction

regarding that specific Other Recalled Device.

        22.     For any Recalled Device Claimant whose Other Recalled Device (or any

component) is unavailable because it was returned to Philips RS after the date of this Order and

was not preserved by Philips RS pursuant to the this Order, that Recalled Device Claimant will not

be subject to any defense or claim of a failure of causation, or any failure of proof in that plaintiff’s

case, based on the argument that his or her particular Other Recalled Device (or components of

that Other Recalled Device) is unavailable to be tested; provided, however, that if the Recalled

Device Claimant is a Plaintiff or Represented Prospective Plaintiff, the Plaintiff or Represented

Prospective Plaintiff must have complied with his, her, or its obligations under the Preservation

Registry for this stipulation to apply. In particular, for purposes of this Paragraph, the Plaintiff or

Represented Prospective Plaintiff must have provided either (i) their name, address, and serial

number; or (ii) if the serial number is not reasonably available, then (a) the registration

confirmation code provided to the Recalled Device Claimant by Philips RS via e-mail at the time

they registered their Other Recalled Device on Philips RS’s recall website; or (b) if neither the

serial number nor the registration confirmation code is reasonably available, the date of birth of

the Recalled Device Claimant.

        23.     For any Recalled Device Claimant who brings claims in this MDL or in any state

court, and that individual’s Other Recalled Device is unavailable because it was not required to be

preserved under the terms of this Order, the Parties stipulate and agree that Recalled Devices

preserved under this Order may be subject to analysis by the parties’ experts to support the parties’

claims and defenses in connection with that individual’s unavailable Other Recalled Device. Under

such circumstances, the parties stipulate and agree that an expert’s conclusions may not be




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challenged based on the argument that the expert did not analyze that particular individual’s Other

Recalled Device specifically, but only other devices preserved under this Order. This provision

applies to all Recalled Device Claimants whose Other Recalled Devices are unavailable because

they did not need to be preserved under the terms of this Order, including those who have not yet

retained counsel and who were unaware of any preservation requirements.

       24.     This Order is based on the parties’ respective good faith understanding of the

relevant facts and circumstances at this time. The parties stipulate and agree as follows:

               a.      The manner and method of bagging and storing the preserved devices as set

forth in the Packaging and Storage Protocol in Exhibit B is intended, as best as reasonably

possible, to preserve the Other Recalled Devices in substantially the same condition as they were

in at the time of the bagging. If the Packaging and Storage Protocol in Exhibit B is followed

substantially and in good faith, the Parties stipulate and agree (i) not to argue that the condition of

the Recalled Device at issue was affected in any way by the manner and/or method of bagging and

storing the preserved Recalled Device, and (ii) not to challenge the reliability or admissibility of

the opposing parties’ expert opinions on the grounds that the condition of the stored Recalled

Device (including but not limited to the foam and other components) was affected by the manner

and/or method of bagging and storing and/or the temperature and humidity of the storage location

of the preserved Recalled Device, but nothing in this paragraph precludes any Party from

challenging the reliability or admissibility of an expert opinion on any other grounds, including,

subject to Paragraph 25 below, as to the question of the extent (if any) of degradation or further

degradation of the bagged and stored foam solely due to the passage of time

               b.      The Protocol for Preservation of Additional Devices in Exhibit C will

preserve a sufficient sample of the entire population of recalled Other Recalled Devices for




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purposes of later testing of a subset or subsets of that sample for purposes of analysis by the Parties’

experts.

         25.   The Parties recognize the possibility that the foam in the Other Recalled Devices

may degrade or further degrade as time passes, despite the bagging and storage provided for in

Exhibit B. Accordingly, Philips RS will set aside a number of devices separate from, and in

addition to, all other preservation obligations before and after the entry of this Order for the

purpose of testing to determine the extent of foam degradation due to the passage of time after an

Other Recalled Device has been bagged and stored pursuant to the Packaging and Storage Protocol

in Exhibit B. The Parties shall meet and confer concerning the number of devices to be retained

and the process of their selection, and, to the extent Plaintiffs or Defendants wish to inspect,

evaluate, or test any of the devices retained pursuant to this paragraph, the protocol for doing so.

         26.   The stipulations and agreements contained herein shall apply to any case pending

in this MDL as of the entry of this Order, and to any case subsequently filed in or transferred to

this MDL or remanded to state court from this MDL, regardless of whether: (a) such action

currently has been transferred to this MDL, (b) such case currently is filed or unfiled, and/or (c)

any asserted injury is known or unknown. However, Other Prospective Plaintiffs shall not have

any obligations under this Order unless or until they become a party in this MDL or have retained

counsel that has made an appearance in this MDL (whether such appearance was made before or

after the date of this Order), at which point the person will immediately become subject to this

Order.

         27.   Except as otherwise agreed above, all parties reserve any and all claims, defenses,

and arguments that they may have or make in any litigation related to the Recalled Devices.




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V.     OTHER PROVISIONS

       28.     To the extent Philips RS uses third-party contractors for any preservation or rework

for any Recalled Device, or for any packaging or storing of preserved devices, Philips RS is

responsible for ensuring its third-party contractors have notice of this Order and agree to comply

with the provisions of this Order.

       29.     To the extent not already done, Philips RS will send a written communication to all

of its DMEs advising them that if a customer returned any Other Recalled Device to the DME, the

Other Recalled Device should be returned to Philips RS. Philips RS will then treat the device as if

it was returned directly to Philips RS under the terms of this Order and/or the Settlement.

       30.     This Order applies to all cases in the MDL as of the date of entry of this Order, and

to all cases later filed in, removed to, or transferred to this Court and made part of the MDL.

       31.     Nothing in this Protocol shall be interpreted or construed in a manner inconsistent

with, or contravening, any federal law, rule, or regulation, in effect at the time of the execution of

this Protocol by Defendants and Plaintiffs and approval by this Court and any subsequent

amendment.

       32.     The Parties reserve the right to request further modification or amendment of this

Order: (1) through the entry of a Recalled Device examination protocol; (2) as agreed by the

Parties; or (3) for other good cause shown.


IT IS SO ORDERED.
                                                      BY THE COURT:


                                                      Joy Flowers Conti
                                                      Senior United States District Judge




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STIPULATED AND AGREED TO this 20th day of February, 2024

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                                                                                                                                AMENDED EXHIBIT A to Amended Preservation Order
                            Product User Information                                          Product User Address                                  Product User Device Information                  Device Preservation                           Lawsuit                Return Label Needed
                                                                                                                                                    (If you have more than one device to register,                                                                        (Select "Yes" only if you are having Philips preserve the Product User's Device AND the Product
                                                                                                                                                    please complete a separate entry for each                                                                             User already received their refurbished machine and did not retain the return information or if
                                                                                                                                                    device)                                                                                                               Product User is no longer using machine and not awaiting a refurbished one from Philips)
Plaintiff Counsel Firm(s)   Last Name   First Name     Middle Name   Suffix   Date of Birth    Street Address   City   State      ZIP     Country   Device Serial Number     Recall Confirmation     Indicate whether (a) the user is self-        Has a lawsuit been If you still have the device in your                 Telephone          Email Address for FedEx
                                                                              (If no Device                                                                                  Number (if no serial    preserving the device or (b) the user is      filed with respect to possession, would you like to request that        Number for         label (can be product user or
                                                                              Serial Number or                                                                               number is available)    returning the device to Philips Respironics   this user's use of the Philips RS email you a return authorization      FedEx label (can attorney's email)
                                                                              Recall                                                                                                                 for preservation                              device in question? label so you can return your device to              be product user or
                                                                              Confirmation                                                                                                                                                                                Philips RS for preservation? (If, Yes, provide   attorney's number)
                                                                              Number Is                                                                                                                                                                                   Telephone Number and Email for FedEx label)
                                                                              Provided)
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                                              Exhibit B

                                  Packaging and Storage Protocol

   I.          Philips RS’s Obligations

          Upon entry of the Preservation Order, the following sets forth Philips RS’s obligations with

respect to the handling, packaging, and storage of Other Recalled Devices, or components thereof,

returned to Philips RS pursuant to Sections II.A. of this Order.

          1.      After opening the packaging, an identifying label that identifies the serial number

of the device (“Identifying Label”). A screenshot will be generated which includes the device serial

number, therapy hours, and blower hours (as reflected on the device), and Philips RS will retain

copies of the screenshot.

          2.      The Other Recalled Device will be placed in a 2 mil (.002) thickness, bottom-

gusseted Polyethylene (“Poly”) bag. If an SD card is provided with the returned device, the SD

card will be removed and stored in a binder with the serial number of the associated Device

included.

          3.      If a humidifier is provided with the returned device, an Identifying Label will be

placed on the humidifier, and the humidifier will be placed in the Poly bag along with the returned

device.

          4.      The Poly bag will be heat sealed (without vacuum or purging). Philips RS will use

reasonable efforts to ensure that air is removed from the Poly bag prior to heat sealing. After heat

sealing, an Identifying Label will be placed on the Poly bag.

          5.      The sealed bag containing the device (and, if present, the humidifier and/or the SD

card) will be placed in a box. The box will be closed and sealed with tape. An Identifying Label

will be placed on the outside of the box.




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       6.      The sealed box will be palletized and the pallet will be wrapped in shrink wrap. A

pallet log for the pallet will be created and will be kept with the completed pallet.

       7.      The sealed pallet will be stored in an environmentally-controlled setting equipped

with ambient air temperature and humidity monitoring. The pallet’s storage location will be

recorded. The sealed pallets will be stored at a temperature range of 2-25 degrees Celsius (35-77

degrees Fahrenheit) with relative humidity of less than 50 percent.

               II.     Plaintiffs’ and Represented Prospective Plaintiffs’ Obligations for User-
                       Preserved Other Recalled Devices.

       Upon entry of this Order, the following sets forth Plaintiffs’ and Represented Prospective

Plaintiffs’ obligations with respect to User-Preserved Devices in accordance with Section III of

this Order. This section applies only to Plaintiffs and Represented Prospective Plaintiffs who elect

to User-Preserve their Devices.

       With respect to Other Recalled Devices, Plaintiffs and Represented Prospective Plaintiffs

shall take these actions in order to receive the Parties’ stipulations in Paragraphs 22 and 24(a) of

the Amended Preservation Order and if they (i) have received or obtained a replacement device;

or (ii) have not received or obtained a replacement device but are no longer using the Other

Recalled Device. If the Plaintiff or Represented Prospective Plaintiff has not received or obtained

a replacement device and is using the Other Recalled Device, then upon receiving or obtaining a

replacement device, they shall preserve the Other Recalled Device pursuant to the steps below:

       1.      The Other Recalled Device will be placed in a 2 mil (.002) thickness, bottom-

gusseted Poly bag. The mask and tubing will be removed before storing. The user does not need

to preserve the mask and tubing but may retain them, including for use with the replacement

device. The SD card may either be used with replacement device or preserved by Plaintiff or

Plaintiff’s Counsel. With respect to humidifiers, the user shall preserve them unless the user elects



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to use the humidifier with their replacement Device. The humidifier will be preserved by placing

it in the Poly bag with the Other Recalled Device or in its own Poly bag.

           2.    Poly bag will be heat sealed (without vacuum or purging). The person sealing the

bag will use reasonable efforts to ensure that air is removed from the Poly bag prior to heat sealing.

           3.    The sealed Poly bag will be stored either (a) in an environmentally-controlled

setting equipped with ambient air temperature and humidity monitoring at the temperature and

humidity parameters set forth in Paragraph I.7, above or (b) in a temperature-controlled setting at

a temperature range of 2-5.5 degrees Celsius (35-42 degrees Fahrenheit).

           4.    To the extent the above steps are completed by the Plaintiff or Represented

Prospective Plaintiff and not by their counsel, confirmation will be provided to Plaintiff’s or

Represented Prospective Plaintiff’s counsel that the foregoing steps have been completed (which

communications are attorney-client privileged) and counsel shall document such communications

in their file.

           5.    Plaintiffs and Represented Prospective Plaintiffs may choose to preserve their

Other Recalled Device via a third-party storage facility, if that entity is instructed to follow the

above-specified preservation process.

    III.         Deadline for Compliance

           1.    Philips RS shall comply with the provisions the Order and this Exhibit B upon entry

of the Order. All Plaintiffs and Represented Prospective Plaintiffs shall comply with the provisions

of this Exhibit B no later than 90 days after entry of this Order.

           2.    For any Plaintiff or Represented Prospective Plaintiff that (a) elects to User-

Preserve their Other Recalled Device, (b) has not received or obtained a replacement device upon

the entry of this Order, and (c) is using the Other Recalled Device, then the Plaintiff or Represented

Prospective Plaintiff shall comply with the provisions of Section II of this Exhibit B no later than


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60 days after they either (a) receive or obtain a replacement device, or (b) discontinue use of their

Other Recalled Device, whichever is sooner.




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                                              Exhibit C

               Protocol For Preservation of Additional Other Recalled Devices

        This Protocol for Preservation of Additional Other Recalled Devices (“Protocol”) shall be

used with respect to Other Recalled Devices that have been returned to Philips RS and sets forth

the quantity of recalled devices and certain other components that Philips RS will preserve and

retain, at least on an interim basis, after the date of entry of the Order, and how they will be selected

for preservation, in accordance with Paragraph 30 of this Order.

        1.      Philips RS will preserve 100% of the System One Series 50 and System One Series

60 devices that are currently in Philips RS’s possession and being stored in at Philips RS’s facility

in Cleveland, Ohio, representing approximately 33,000 devices. For all other System One Series

50 and System One Series 60 devices that are not on the Preservation Registry and either (i) are in

Philips RS’s possession but not being stored at Philips RS’s facility in Cleveland, Ohio as of the

date this Order is entered; or (ii) are returned to Philips RS after the date of this Order, Philips RS

shall preserve at least seven and 1/2 percent (7.5%) of the System One Series 50 and System One

Series 60 devices. The 7.5% sample will be obtained pursuant to a random sampling procedure

whereby Philips RS will set aside and preserve the device, SD card (if present), and humidifier (if

present), for devices in the sample.

        2.      Philips RS shall preserve 100% of all other models of Other Recalled Devices (i.e.

devices other than the System One Series 50 and System One Series 60 devices addressed in the

preceding paragraph) in Philips RS’s possession as of the date of the Preservation Order, or

received after the date the Preservation Order is entered, returned by Recalled Device Users who

are not included in the Preservation Registry.




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       3.      The Other Recalled Devices preserved in this process will be packaged and stored

in the manner provided for in Part I of Exhibit B to this Preservation Order.

       4.      Philips RS will provide an accounting of the randomly selected devices that are

preserved pursuant to this Exhibit C, and the number of devices preserved pursuant to Section

II.A.2. of the Preservation Order (i.e., those that are on the Preservation Registry). Such reports

shall be provided to Plaintiffs’ Lead Counsel on a monthly basis beginning with the first day of

the month following the date this Order is entered.

       5.      As discovery proceeds in this MDL, the Parties agree to periodically discuss

whether modification of the preservation and retention of devices required under this Protocol is

appropriate, including but not limited to the percentage of Other Recalled Devices required to be

preserved pursuant to this Exhibit C.




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